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           MOTION MATERIALS
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   EXHIBIT INDEX                               DESCRIPTION


      EXHIBIT A                      Identity and Financial Documentation


      EXHIBIT B                      Identity and Financial Documentation


      EXHIBIT C                      Identity and Financial Documentation


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      EXHIBIT G                      Identity and Financial Documentation


      EXHIBIT H                      Identity and Financial Documentation
